                                                                                   Case 2:21-bk-11188-BB      Doc 16 Filed 02/17/21 Entered 02/17/21 18:25:08               Desc
                                                                                                               Main Document    Page 1 of 25


                                                                                    1   Marsha A. Houston (SBN 129956)
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                                                                                    5   Attorneys for U.S. Real Estate Credit Holdings
                                                                                        III-A, LP
                                                                                    6

                                                                                    7

                                                                                    8                           UNITED STATES BANKRUPTCY COURT

                                                                                    9                            CENTRAL DISTRICT OF CALIFORNIA

                                                                                   10                                    LOS ANGELES DIVISION
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                                                                                   11

                                                                                   12   In re                                            Case No.     2:21-bk-11188-BB
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                                                                                   13   GLENROY COACHELLA, LLC,                          Chapter 11
                                                                                   14                        Debtor.                     MOTION FOR THE APPOINTMENT OF
                                                                                                                                         A CHAPTER 11 TRUSTEE
                                                                                   15

                                                                                   16                                                      Date: March 10, 2021
                                                                                                                                           Time: 10:00 a.m.
                                                                                   17                                                      Place: Courtroom 1539
                                                                                                                                                  255 E. Temple Street
                                                                                   18                                                             Los Angeles, CA 90012
                                                                                   19
                                                                                                                                         Honorable Sheri Bluebond
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                                                                                                             MOTION FOR THE APPOINTMENT OF A CHAPTER 11 TRUSTEE
                                                                                                                                                                  US_ACTIVE-158192819.2-CORIVAS
                                                                                   Case 2:21-bk-11188-BB         Doc 16 Filed 02/17/21 Entered 02/17/21 18:25:08               Desc
                                                                                                                  Main Document    Page 2 of 25

                                                                                    1                                                MOTION
                                                                                    2             U.S. Real Estate Credit Holdings III-A, LP (the “Lender”) hereby moves the Court for an
                                                                                    3   order appointing a Chapter 11 Trustee pursuant to 11 U.S.C. § 1104(a).
                                                                                    4             The Lender respectfully requests that the Court appoint a Chapter 11 Trustee to wind
                                                                                    5   down the affairs of the single asset real estate debtor, Glenroy Coachella, LLC (the “Debtor”),
                                                                                    6   including potentially pursuing or facilitating the sale of its sole property located at 84150 Avenue
                                                                                    7   48, Coachella, California 92201 (the “Property”) and administering or investigating the Debtor’s
                                                                                    8   claims.
                                                                                    9             This motion is based upon the accompanying Memorandum of Points and Authorities, the
                                                                                   10   concurrently filed Declarations of Simond Lavian, Gary Stiffelman, Edwin Leslie, Alan Tippie,
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                                                                                   11   and Marsha A. Houston, and all of the pleadings and documents in this case, and such other
                                                                                   12   evidence as may be presented at the hearing on this matter.
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                                                                                   13

                                                                                   14   DATED: February 17, 2021                       REED SMITH LLP

                                                                                   15

                                                                                   16                                                  By      /s/ Christopher O. Rivas
                                                                                                                                            Marsha A. Houston
                                                                                   17                                                       Christopher O. Rivas
                                                                                   18                                                       Attorneys for Secured Creditor
                                                                                                                                            U.S. Real Estate Credit Holdings III-A, LP
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                                                                                                                                    -1-
                                                                                                            MOTION FOR THE APPOINTMENT OF A CHAPTER 11 TRUSTEE
                                                                                   Case 2:21-bk-11188-BB                 Doc 16 Filed 02/17/21 Entered 02/17/21 18:25:08                                               Desc
                                                                                                                          Main Document    Page 3 of 25

                                                                                    1                                                       TABLE OF CONTENTS
                                                                                    2                                                                                                                                              Page
                                                                                    3
                                                                                        I. INTRODUCTION ........................................................................................................................ 1
                                                                                    4
                                                                                        II. FACTUAL BACKGROUND AND PROCEDURAL HISTORY .............................................. 3
                                                                                    5
                                                                                                  A.         The Loan and the Debtor’s Defaults ........................................................................ 3
                                                                                    6
                                                                                                             1.         The Loan ...................................................................................................... 3
                                                                                    7
                                                                                                             2.         The Property and the Deed of Trust ............................................................. 3
                                                                                    8
                                                                                                             3.         The Construction Project and Debtor’s Complete Failure to Manage
                                                                                    9                                   the Project .................................................................................................... 4
                                                                                   10
                                                                                                             4.         The Debtor’s Defaults .................................................................................. 5
                 A limited liability partnership formed in the State of Delaware




                                                                                   11
                                                                                                             5.         Lender’s Acceleration of the Note ............................................................... 6
                                                                                   12
                                                                                                  B.         The State Court Litigation........................................................................................ 7
REED SMITH LLP




                                                                                   13
                                                                                                  C.         The Debtor’s Misconduct Before and During the State Court Litigation ................ 8
                                                                                   14
                                                                                                  D.         The Debtor Cannot Avoid the Appointment of Trustee by Hiring a Chief
                                                                                   15                        Restructuring Officer That Answers Only to Stuart Rubin.................................... 12
                                                                                   16   III. LEGAL ARGUMENT ............................................................................................................. 12
                                                                                   17
                                                                                                  A.         The Legal Standard for the Appointment of a Trustee .......................................... 12
                                                                                   18
                                                                                                  B.         This Court Should Appoint a Trustee to Administer the Assets of the
                                                                                   19                        Debtor..................................................................................................................... 14

                                                                                   20                        1.         There is Cause to Appoint a Trustee Under Section 1104(a)(1). ............... 14
                                                                                   21                        2.         Appointment of a Trustee Under Section 1104(a)(2) Would be in
                                                                                                                        the Best Interests of the Creditors .............................................................. 16
                                                                                   22

                                                                                   23                        3.         No Bond is Required .................................................................................. 18

                                                                                   24   IV. CONCLUSION ........................................................................................................................ 18

                                                                                   25

                                                                                   26

                                                                                   27

                                                                                   28


                                                                                                                                                       -i-
                                                                                                                  MOTION FOR THE APPOINTMENT OF A CHAPTER 11 TRUSTEE
                                                                                   Case 2:21-bk-11188-BB                Doc 16 Filed 02/17/21 Entered 02/17/21 18:25:08                                        Desc
                                                                                                                         Main Document    Page 4 of 25

                                                                                    1                                                  TABLE OF AUTHORITIES
                                                                                    2                                                                                                                                  Page(s)
                                                                                    3
                                                                                        Cases
                                                                                    4
                                                                                        In re Ampal-Am. Israel Corp.,
                                                                                    5       No. 12-13689 SMB, 2013 WL 1400346 (Bankr. S.D.N.Y. Apr. 5, 2013) ...............................13

                                                                                    6   An-Tze Cheng v. K & S Diversified Invs., Inc. (In re An-Tze Cheng),
                                                                                           308 B.R. 448 (B.A.P. 9th Cir. 2004) .........................................................................................15
                                                                                    7
                                                                                        In re Bellevue Place Assocs.,
                                                                                    8       171 B.R. 615 (Bankr. N.D. Ill. 1994)........................................................................................15
                                                                                    9
                                                                                        In re Cardinal Indus. Inc.,
                                                                                   10       109 B.R. 755 (Bankr. S.D. Ohio 1990) .....................................................................................16
                 A limited liability partnership formed in the State of Delaware




                                                                                   11   In re Centennial Textiles, Inc.,
                                                                                            227 B.R. 606 (Bankr. S.D.N.Y. 1998) ......................................................................................16
                                                                                   12
REED SMITH LLP




                                                                                        Comm. of Dalkon Shield Claimants v. A.H. Robins Co., Inc.,
                                                                                   13     828 F.2d 239 (4th Cir.1987)......................................................................................................14
                                                                                   14   Commodity Future Trading Commn’n v. Weintraub,
                                                                                   15     471 U.S. 343 (1985) ..................................................................................................................13

                                                                                   16   In re Intercat,
                                                                                            247 B.R. 911 (Bankr. S.D. Ga. 2000) .......................................................................................13
                                                                                   17
                                                                                        In re Ionosphere Clubs, Inc.,
                                                                                   18       113 B.R. 164 (Bankr. S.D.N.Y. 1990) ......................................................................................16
                                                                                   19   In re Keeley & Grabanski Land P’ship,
                                                                                   20       455 B.R. 153 (B.A.P. 8th Cir. 2011) ...................................................................................15, 18

                                                                                   21   In re L.S. Good & Co.,
                                                                                            8 B.R. 312 (Bankr. N.D. W. Va. 1980) .....................................................................................17
                                                                                   22
                                                                                        In re Marvel Entm’t Group,
                                                                                   23       140 F.3d 463 (3d Cir. 1998) ......................................................................................................13
                                                                                   24   In re McCorhill Publ’g. Inc.,
                                                                                            73 B.R. 1013 (Bankr. S.D.N.Y. 1987) ......................................................................................13
                                                                                   25

                                                                                   26   In re Microwave Prods. of Am., Inc.,
                                                                                            102 B.R. 659 (Bankr. W.D. Tenn. 1989) ......................................................................13, 16, 17
                                                                                   27
                                                                                        Midatlantic Nat’l Bank v. Anchorage Boat Sales, Inc. (In re Anchorage Boat Sales,
                                                                                   28      Inc.),
                                                                                           4 B.R. 635 (Bankr. E.D.N.Y. 1980) ..........................................................................................14

                                                                                                                                                    - ii -
                                                                                                                 MOTION FOR THE APPOINTMENT OF A CHAPTER 11 TRUSTEE
                                                                                   Case 2:21-bk-11188-BB                Doc 16 Filed 02/17/21 Entered 02/17/21 18:25:08                                        Desc
                                                                                                                         Main Document    Page 5 of 25

                                                                                    1   In re Nautilus of N.M., Inc.,
                                                                                            83 B.R. 784 (Bankr. D. N.M. 1988)..........................................................................................15
                                                                                    2

                                                                                    3   In re Plaza de Retiro, Inc.,
                                                                                            417 B.R. 641 (Bankr. D.N.M. 2009).........................................................................................16
                                                                                    4
                                                                                        In re PRS Ins. Group. Inc.,
                                                                                    5       274 B.R. 381 (Bankr. D. Del. 2001) .........................................................................................16

                                                                                    6   In re Rivermeadows Assocs. Ltd.,
                                                                                            185 B.R. 615 (Bankr. D. Wyo. 1995) .......................................................................................14
                                                                                    7
                                                                                        In re Sharon Steel Corp.,
                                                                                    8
                                                                                            86 B.R. 455 (Bankr. W.D. Pa. 1988) ........................................................................................16
                                                                                    9
                                                                                        In re Suncrus Casinos, LLC,
                                                                                   10       298 B.R. 821 (Bankr. S.D. Fla. 2003) .......................................................................................13
                 A limited liability partnership formed in the State of Delaware




                                                                                   11   In re V. Savino Oil & Heating Co.,
                                                                                            99 B.R. 518 (Bankr. E.D.N.Y. 1989) ............................................................................13, 14, 16
                                                                                   12
REED SMITH LLP




                                                                                        Statutes
                                                                                   13
                                                                                        11 U.S.C. § 1104(a) ............................................................................................................12, 13, 14
                                                                                   14

                                                                                   15   11 U.S.C. § 1104(a)(1) ........................................................................................................13, 14, 17

                                                                                   16   11 U.S.C. § 1104(a)(2) ..................................................................................................13, 16, 17, 18

                                                                                   17

                                                                                   18

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                                                                                   24

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                                                                                   28


                                                                                                                                                   - iii -
                                                                                                                 MOTION FOR THE APPOINTMENT OF A CHAPTER 11 TRUSTEE
                                                                                   Case 2:21-bk-11188-BB       Doc 16 Filed 02/17/21 Entered 02/17/21 18:25:08                Desc
                                                                                                                Main Document    Page 6 of 25

                                                                                    1                         MEMORANDUM OF POINTS AND AUTHORITIES
                                                                                    2                                                       I.
                                                                                    3                                           INTRODUCTION
                                                                                    4          This is not a garden-variety “borrower default” case, and it cries for the appointment of a
                                                                                    5   Chapter 11 trustee. The Debtor’s principal, Stuart Rubin (“Rubin”), with the help of his friend
                                                                                    6   and investor, Elliot Lander (“Lander”), have over the course of the prior two years, engaged in
                                                                                    7   numerous acts of gross mismanagement, fraudulent misconduct, and bad faith litigation tactics to
                                                                                    8   the harm of this Debtor’s creditors. On Lender’s motion in the underlying state court
                                                                                    9   proceedings, the court appointed Edwin Leslie as receiver (the “Receiver”) over the Property, but
                                                                                   10   the Debtor, at the helm of Rubin and Lander (who are completely out of the money on this
                 A limited liability partnership formed in the State of Delaware




                                                                                   11   Property), have stalled every effort by the Receiver to investigate the financial problems they
                                                                                   12   themselves created.
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                                                                                   13          A number of clear acts by this Debtor require the appointment of a Chapter 11 Trustee to
                                                                                   14   manage the Debtor’s affairs and to investigate the Debtor’s finances, including:
                                                                                   15          (1)     The Debtor fraudulently induced Lender to make the loan on the construction
                                                                                   16   project on the Property (the “Project”) by providing the Lender with a false budget that was
                                                                                   17   grossly understated by approximately $20 million;
                                                                                   18          (2)     The Debtor’s own investors, including Gary Stiffelman (“Stiffelman”), have
                                                                                   19   alleged that Rubin has defrauded them into loaning millions of dollars into the Project under false
                                                                                   20   pretenses;
                                                                                   21          (3)     Rubin hired his 23-year old son, Joseph, as construction manager, although Joseph
                                                                                   22   was incapable of managing a Project of this size, and Rubin diverted well over $1 million of the
                                                                                   23   Debtor’s cash to an adjacent cannabis dispensary that was owned, in part, by Joseph;
                                                                                   24          (4)     Rubin apparently diverted millions of dollars in funds from Mello-Roos financing
                                                                                   25   to unknown parties, and although he caused more than $8.8 million in mechanics liens to be
                                                                                   26   recorded against the Project, he leased a Bentley under the Debtor’s name and with the Debtor’s
                                                                                   27   funds to further his own luxurious lifestyle; and
                                                                                   28


                                                                                                                                    -1-
                                                                                                          MOTION FOR THE APPOINTMENT OF A CHAPTER 11 TRUSTEE
                                                                                   Case 2:21-bk-11188-BB       Doc 16 Filed 02/17/21 Entered 02/17/21 18:25:08                 Desc
                                                                                                                Main Document    Page 7 of 25

                                                                                    1          (5)     To further enrich his children, Rubin directly tied the success of the cannabis
                                                                                    2   dispensary to the completion of the Project through a development agreement the Debtor
                                                                                    3   previously reached with the City of Coachella, and an independent fiduciary is fundamentally
                                                                                    4   necessary to disentangle the dealings of the Debtor from this dispensary.
                                                                                    5          These are only a small fraction of the Debtor’s malfeasance, which is otherwise
                                                                                    6   summarized below in a 24-point list. The Debtor, Rubin and Lander have refused to cooperate
                                                                                    7   with the Receiver and have done their best to hide their mismanagement, incompetence, and
                                                                                    8   malfeasance. An independent fiduciary should be appointed by this Court and should work
                                                                                    9   hand-in-hand with the U.S. Trustee’s office to address these concerns and to ensure that the
                                                                                   10   property remaining in this Debtor’s estate is properly administered and that the Debtor’s claims
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                                                                                   11   are appropriately investigated and administered. If a Chapter 11 trustee is not appointed, it is
                                                                                   12   very clear what will happen in this case. The Debtor will continue obfuscating and hiding its own
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                                                                                   13   mismanagement and malfeasance.
                                                                                   14          Moreover, the Debtor has conclusively established that it has no means of completing the
                                                                                   15   Project except by borrowing more money at the risk of Lenders and the mechanics lien claimants.
                                                                                   16   The Debtor’s inability to manage this Project was laid bare most recently when the Debtor sought
                                                                                   17   to force the Receiver to issue receivership certificates to their new proposed priming lender, EFO
                                                                                   18   Financial, for an $8 million senior secured loan, which would subordinate all liens, including
                                                                                   19   Lender’s liens. The state court summarily rejected the Debtor’s efforts to prime the Lender and
                                                                                   20   other lienholders. Now, after an unsuccessful confidential mediation before Judge Barash, and on
                                                                                   21   the eve of a February 16, 2021 foreclosure, the Debtor has tried one final Hail Mary: a
                                                                                   22   bankruptcy case for a single non-operating co-owner of the Property while the other co-owners
                                                                                   23   remain non-debtors. The Debtor has no prospects to complete the construction they propose and
                                                                                   24   the Debtor appears to have an ill-conceived strategy to provide a long-term recovery to the equity
                                                                                   25   holders at the expense of the Debtor’s creditors, even though equity currently has no value
                                                                                   26   whatsoever. Enough is enough. The principals of this Debtor must be removed from the
                                                                                   27   operation of its affairs and a competent neutral and disinterested party who does not answer to
                                                                                   28   Rubin or serve at his whim should be put in charge by the Court to protect and preserve the


                                                                                                                                    -2-
                                                                                                          MOTION FOR THE APPOINTMENT OF A CHAPTER 11 TRUSTEE
                                                                                   Case 2:21-bk-11188-BB         Doc 16 Filed 02/17/21 Entered 02/17/21 18:25:08               Desc
                                                                                                                  Main Document    Page 8 of 25

                                                                                    1   Property until either the Lender is granted relief from the automatic stay or until the Trustee can
                                                                                    2   sell the Property pursuant to a court-approved Section 363 sale and administer the estate’s claims
                                                                                    3   and assets.
                                                                                    4                                                     II.
                                                                                    5                  FACTUAL BACKGROUND AND PROCEDURAL HISTORY
                                                                                    6   A.     The Loan and the Debtor’s Defaults
                                                                                    7             1.      The Loan
                                                                                    8          Lender entered into an agreement with the Debtor (the “Loan Agreement”) to loan up to
                                                                                    9   $24,400,000 for purposes of financing the construction of a luxury hotel resort in Coachella,
                                                                                   10   California (the “Project”). [Declaration of Simond Lavian (“Lavian Decl.”), ¶ 3.] To evidence
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                                                                                   11   the loan in the maximum principal amount of $24,400,000 (“Loan”), the Debtor made, executed,
                                                                                   12   and delivered to Lender a Promissory Note (the “Note”), pursuant to which the Debtor agreed,
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                                                                                   13   among other things, to make regular monthly payments throughout the term of the Loan. [Lavian
                                                                                   14   Decl., Exs. A, B.]
                                                                                   15             2.      The Property and the Deed of Trust
                                                                                   16          The Debtor owns, as a tenant-in-common with other non-debtor entities, the Property at
                                                                                   17   which the Project’s construction commenced. The Note is secured by a Deed of Trust, Security
                                                                                   18   Agreement, Financing Statement and Fixture Filing executed and delivered by the Debtor in
                                                                                   19   favor of Lender (“Deed of Trust”) and recorded in the Official Records of the County of
                                                                                   20   Riverside on April 26, 2018, as Doc. No. 2018-0162476. [Lavian Decl., Ex. C.]
                                                                                   21          The Deed of Trust encumbers the Property, together with all of the estate, right, title, and
                                                                                   22   interests the Debtor has or may acquire in or to the Property, including all improvements, as
                                                                                   23   defined therein, all accounts, deposit accounts, instruments, chattel paper and all other contracts
                                                                                   24   and agreements the Debtor has or may have an interest in that are arising out of or relating to the
                                                                                   25   acquisition, development, ownership, management or use of the Property, all additions,
                                                                                   26   substitutions, and proceeds of the foregoing. [Lavian Decl., Ex. C.]
                                                                                   27

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                                                                                                                                    -3-
                                                                                                             MOTION FOR THE APPOINTMENT OF A CHAPTER 11 TRUSTEE
                                                                                   Case 2:21-bk-11188-BB        Doc 16 Filed 02/17/21 Entered 02/17/21 18:25:08                 Desc
                                                                                                                 Main Document    Page 9 of 25

                                                                                    1             3.      The Construction Project and Debtor’s Complete Failure to Manage the
                                                                                    2                     Project
                                                                                    3          The general contractor for the Project, who also executed certain documents in
                                                                                    4   connection with the Loan, was Doug Wall Construction, Inc. (“Wall”). At the time of closing,
                                                                                    5   Lender relied on a construction budget provided to it by the Debtor and Wall reflecting itemized
                                                                                    6   costs to complete the Project in the amount of $30,733,120 (pre-close “Total Hard Costs”) and
                                                                                    7   Lender believed, based on written and oral representations of the Debtor, Rubin and Wall, that all
                                                                                    8   prior costs of construction were fully paid for either by prior payment or through the closing
                                                                                    9   funds of the Loan. [Lavian Decl., ¶ 7, Ex. D.]
                                                                                   10          Shortly after closing, however, Lender learned the truth: there were substantial hidden
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                                                                                   11   construction costs that were unpaid-for and that were not budgeted. In September 2018, less than
                                                                                   12   six months after the loan closed, the Debtor presented Lender with a draw request in which the
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                                                                                   13   Total Hard Costs budget was increased by approximately $8 million to $38,915,415, at which
                                                                                   14   time the Lender required Borrowers’ principals to fund the Project pari passu with Lender going
                                                                                   15   forward to cover the $8 million shortfall. [Lavian Decl., ¶ 8, Ex. E.] The principals failed to
                                                                                   16   make their contributions (except, perhaps, by diverting funds from other sources).
                                                                                   17          On or about April 18, 2019, after the Lender had already disbursed more than
                                                                                   18   $12,500,862.31 towards the hard costs of construction of the Project, the Debtor presented
                                                                                   19   Lender with yet another Total Hard Costs budget that had increased even more to $49,793,195.72
                                                                                   20   (net of the $19 million land cost they added to the budget), which reflected that the Debtor was
                                                                                   21   now $19 million above the original Total Hard Costs budget. [Lavian Decl., ¶ 9, Ex. F.]
                                                                                   22          The fact that the budget nearly doubled in size was not due to any external forces or
                                                                                   23   unknown circumstances, but rather because the Debtor fully intended to defraud Lender by
                                                                                   24   misleading it about the real costs to complete the Project (and, therefore, the Debtor’s ability to
                                                                                   25   pay for it), or because the Debtor, at Rubin’s helm, was so incompetent that it miscalculated the
                                                                                   26   cost of completing the Project by orders of magnitude. Either way, the Debtor’s defaults, the
                                                                                   27   failure of this Project, and its current state are due solely to the mismanagement of the Project by
                                                                                   28   the Debtor. Rubin should not have put his unqualified son (who, like his father, had nowhere


                                                                                                                                    -4-
                                                                                                          MOTION FOR THE APPOINTMENT OF A CHAPTER 11 TRUSTEE
                                                                                   Case 2:21-bk-11188-BB       Doc 16 Filed 02/17/21 Entered 02/17/21 18:25:08                 Desc
                                                                                                               Main Document    Page 10 of 25

                                                                                    1   near the construction expertise -- let alone hotel construction expertise -- needed to complete this
                                                                                    2   project), nor should the Debtor have relied on Wall, who was apparently unable to manage the
                                                                                    3   project as a general contractor and who left millions of dollars of unpaid subcontractors unpaid.
                                                                                    4          Worse, than Debtor’s gross mismanagement (which itself was sufficient to derail the
                                                                                    5   Project), the Debtor also misappropriated funds (Mello-Roos and PACE financing) that should
                                                                                    6   have been used for construction to, instead, “invest” in the cannabis dispensary and to fund the
                                                                                    7   Debtor’s lifestyle.
                                                                                    8             4.      The Debtor’s Defaults
                                                                                    9          The Loan fully matured on May 1, 2020, and it remains unpaid, but the Debtor defaulted
                                                                                   10   even prior to the maturity date. The Debtor failed to pay monthly debt service due on May 1,
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                                                                                   11   2019, or any payments due thereafter, as required under the Note (with the exception of one
                                                                                   12   partial payment towards default interest that was insufficient to bring the loan current). [Lavian
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                                                                                   13   Decl., ¶ 5.] Additionally, the Debtor failed to keep the Loan “In-Balance” at all times, as
                                                                                   14   required by Section 9.13 of the Loan Agreement, which requires the Debtor to:
                                                                                   15                  cause the undisbursed Loan funds to be equal to or greater than the
                                                                                   16                  amount which Lender from time to time determines necessary to:

                                                                                   17                  (a) pay, through completion, all costs of construction, marketing and
                                                                                                       sale or leasing of the Property and Improvements in accordance
                                                                                   18                  with the Loan Documents and any Approved Budget;
                                                                                   19                  (b) pay all sums which may accrue under the Loan Documents prior
                                                                                                       to repayment of the Loan; and
                                                                                   20
                                                                                                       (c) enable borrower to perform and satisfy all of the covenants of
                                                                                   21
                                                                                                       Borrower contained in the Loan Document[s].
                                                                                   22   [Lavian Decl., ¶ 6.]
                                                                                   23          Critically, on or around April 18, 2019, the Debtor provided Lender an updated
                                                                                   24   construction budget reflecting that the Project’s budget had increased by approximately $19
                                                                                   25   million and was very far “out of balance”. [Lavian Decl., ¶ 9.] On May 7, 2019, as a
                                                                                   26   consequence of the updated budget, which was tens of millions of dollars greater than the
                                                                                   27   budgets previously provided by the Debtor, Lender sent the Debtor a Default Letter informing
                                                                                   28   the Debtor that the remaining unfunded proceeds under the Loan were $4,487.811.30, which was


                                                                                                                                    -5-
                                                                                                          MOTION FOR THE APPOINTMENT OF A CHAPTER 11 TRUSTEE
                                                                                   Case 2:21-bk-11188-BB            Doc 16 Filed 02/17/21 Entered 02/17/21 18:25:08                           Desc
                                                                                                                    Main Document    Page 11 of 25

                                                                                    1   woefully insufficient to cover the updated April 2019 construction budget, and that the
                                                                                    2   deficiency amount now needed to keep the Loan “In-Balance” as a result of this budget was
                                                                                    3   $19,252,951.98. [Lavian Decl., ¶ 10, Ex. G.]
                                                                                    4            In the same May 7, 2019 default letter, Lender provided notice to the Debtor that there
                                                                                    5   was an Interest Reserve Deficiency of $2,518,486.67. [Lavian Decl., ¶ 10, Ex. G.]
                                                                                    6            The Debtor, however, failed to maintain or post the $19,252,951.98 In-Balance
                                                                                    7   deficiency within five business days of the May 7, 2019, Default Letter. [Lavian Decl., ¶ 11.]
                                                                                    8   The Debtor also failed to deposit $2,518,486.67 into the interest reserve.1 [Lavian Decl., ¶ 11.]
                                                                                    9               5.             Lender’s Acceleration of the Note
                                                                                   10            The foregoing monetary defaults were defined “Events of Default” under the Loan
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                                                                                   11   Agreement and other loan documents, including the Note and Deed of Trust (collectively with
                                                                                   12   Loan Agreement, the “Loan Documents”). Section 11.1(a) of the Loan Agreement provides that
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                                                                                   13   an Event of Default occurs upon “Borrower’s failure to pay when due any sums payable under
                                                                                   14   the Note or any of the other Loan Documents within five (5) days when due . . .” [Lavian Decl.,
                                                                                   15   Ex. A.] Similarly, the Note provides that it is an Event of Default thereunder “should any default
                                                                                   16   occur in the payment of principal or interest . . . and such payment is not made within five (5)
                                                                                   17   days after the date such payment is due.” [Lavian Decl., Ex. B.] The Deed of Trust also
                                                                                   18   provides that an Event of Default under the Loan Agreement is an Event of Default under the
                                                                                   19   Deed of Trust. [Lavian Decl., Ex. C.]
                                                                                   20            Section 11.2 of the Loan Agreement provides:
                                                                                   21                     ACCELERATION UPON EVENT OF DEFAULT; REMEDIES.
                                                                                   22                     Upon the occurrence of any Event of Default specified in this
                                                                                                          Article 11, Lender may, at its sole option, declare all sums owing to
                                                                                   23                     Lender under the Note, this Agreement and the other Loan
                                                                                                          Documents immediately due and payable. . . .
                                                                                   24
                                                                                        [Lavian Decl., Ex. A.]
                                                                                   25
                                                                                                 Accordingly, on or about September 9, 2019, Lender sent a Declaration of Default to the
                                                                                   26
                                                                                        Debtor identifying the various defaults, accelerating the Note’s Maturity Date, and declaring all
                                                                                   27
                                                                                        1
                                                                                         There were further defaults including, for example, Borrowers’ failure to deposit sufficient funds to maintain a tax
                                                                                   28   and insurance reserve, as required under Section 2.4(a) of the Loan Agreement. [Lavian Decl., ¶ 11.]



                                                                                                                                            -6-
                                                                                                             MOTION FOR THE APPOINTMENT OF A CHAPTER 11 TRUSTEE
                                                                                   Case 2:21-bk-11188-BB         Doc 16 Filed 02/17/21 Entered 02/17/21 18:25:08                Desc
                                                                                                                 Main Document    Page 12 of 25

                                                                                    1   sums secured by the Deed of Trust immediately due and payable under the Loan Documents.
                                                                                    2   [Lavian Decl., Ex. J.]
                                                                                    3            As of January 22, 2021, there was and still is due, owing and payable on the Note, in
                                                                                    4   accordance with the Loan Documents, a sum not less than $30,404,992.37, plus additional
                                                                                    5   interest, legal fees and costs in amounts still accruing and not yet determined. [Lavian Decl.,
                                                                                    6   ¶ 19.]
                                                                                    7   B.       The State Court Litigation
                                                                                    8            By the fall of 2019, at the same time Lender was notifying the Debtor of their serious
                                                                                    9   defaults, suppliers and subcontractors on the Project began recording mechanic’s liens and filing
                                                                                   10   lawsuits regarding unpaid work and materials in August 2019. Subsequently, Wall and certain
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                                                                                   11   subcontractors and suppliers filed their respective mechanics liens and lawsuits. To date, more
                                                                                   12   than $8.8 million of mechanics liens have been recorded against the Property – an amount that is
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                                                                                   13   staggering in light of the initial “hard cost” budget of approximately $30 million.
                                                                                   14            On November 19, 2019, Lender filed its verified complaint against the Debtor,
                                                                                   15   Guarantors, Wall, and others, asserting causes of action for judicial foreclosure, appointment of a
                                                                                   16   receiver, breach of contract, breach of guaranty, fraud, and other claims. Lender immediately
                                                                                   17   moved ex parte for the appointment of the Receiver, who was first appointed on November 27,
                                                                                   18   2019. On December 24, 2019, upon the stipulation of the Defendants, the Receiver’s
                                                                                   19   appointment was confirmed and made permanent. In exchange for the stipulation, Lender agreed
                                                                                   20   to refrain from foreclosing on the Property through March 2020, but as a consequence of the
                                                                                   21   global pandemic, the foreclosure was delayed throughout all of 2020. [Lavian Decl., ¶ 15.]
                                                                                   22            Lender filed a motion for summary adjudication on its judicial foreclosure cause of action,
                                                                                   23   which was set to be heard on March 1, 2021. Lender has also recorded a Notice of Sale as to the
                                                                                   24   Property, and a non-judicial foreclosure was set for February 9, 2021 and continued to February
                                                                                   25   16, 2021 at the Debtor’s request. The imminent foreclosure was unquestionably what prompted
                                                                                   26   the Debtor to file its petition. Lender’s efforts to pursue financial discovery relating to the Project
                                                                                   27   and the Debtor’s management of the Project have been met with complete stonewalling from the
                                                                                   28   defendants. [Lavian Decl., ¶ 15.]


                                                                                                                                     -7-
                                                                                                           MOTION FOR THE APPOINTMENT OF A CHAPTER 11 TRUSTEE
                                                                                   Case 2:21-bk-11188-BB       Doc 16 Filed 02/17/21 Entered 02/17/21 18:25:08                 Desc
                                                                                                               Main Document    Page 13 of 25

                                                                                    1          In December 2020, the Debtor filed an ex parte motion in a failed attempt to procure an
                                                                                    2   approximately $8 million loan from EFO Financial and to prime Lender’s liens through receiver’s
                                                                                    3   certificates. The evidence filed in support of the motion was sparse, at best: there were no loan
                                                                                    4   documents, the terms of the loan were incomplete, and the appraisal filed with the motion was
                                                                                    5   from May 2019. Moreover, the Debtor offered zero showing as to the sudden “urgent” need
                                                                                    6   (after 1.5 years without any construction) for the constructions projects to be covered by EFO’s
                                                                                    7   limited and uncertain loan, while more than $20 million of other work remained unfunded.
                                                                                    8   Although the Receiver requested this information prior to the Debtor filing its motion, the Debtor
                                                                                    9   offered no such information and have continued to refuse to do so. [Lavian Decl., ¶ 17.]
                                                                                   10          Lender opposed the motion, as did Wall and every mechanics’ lien claimant (many
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                                                                                   11   indicated their opposition only via email, given the exigency of the motion). The court-
                                                                                   12   appointed Receiver informed the Court of Rubin and Lander’s efforts to keep the Receiver in the
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                                                                                   13   dark, their refusal to provide any of their own funds to maintain or protect the property, and their
                                                                                   14   efforts to undermine the Receiver’s efforts and to challenge the Receiver at every turn. The Court
                                                                                   15   denied Defendants’ motion to prime Lender’s lien and institute Colliers International (“Colliers”)
                                                                                   16   as project manager without a hearing. [Lavian Decl., ¶ 18.]
                                                                                   17          Even now, months after their failed attempt to prime Lender’s loan, Stuart and Rubin have
                                                                                   18   blocked every effort by Lender or Receiver to obtain information supporting their proposed
                                                                                   19   financing and construction plans, including blocking the Receiver’s subpoena to Colliers (the
                                                                                   20   proposed new project manager engaged by the Debtor, whose involvement was a negotiated part
                                                                                   21   of the proposed EFO Financial priming lien), on the grounds that there is a “joint interest
                                                                                   22   privilege” between the Debtor and Colliers. Notably, EFO Financial did not want Rubin to be in
                                                                                   23   charge of the Project, which is why Colliers was instituted as project manager.
                                                                                   24   C.     The Debtor’s Misconduct Before and During the State Court Litigation
                                                                                   25          The Debtor has plainly shown that they do not respect court-appointed fiduciaries and that
                                                                                   26   they are willing to engage in self-dealing and obfuscation to protect their principals: particularly
                                                                                   27   Rubin. It would be difficult to comprehensively capture every one of the acts of incompetence or
                                                                                   28   bad faith by the Debtor, but below is a non-exclusive list of such acts.


                                                                                                                                    -8-
                                                                                                          MOTION FOR THE APPOINTMENT OF A CHAPTER 11 TRUSTEE
                                                                                   Case 2:21-bk-11188-BB        Doc 16 Filed 02/17/21 Entered 02/17/21 18:25:08                 Desc
                                                                                                                Main Document    Page 14 of 25

                                                                                    1                  Pre-Litigation Misconduct and Rubin’s Manipulation and Incompetence
                                                                                    2           1.      The Debtor conspired with its loan broker and Wall to present incomplete and
                                                                                        materially false budgets to Lender to lure it into providing the Loan. The Debtor knew that
                                                                                    3   Lender would not agree to provide the Loan had it known the true hard costs to complete the
                                                                                        project was approximately $50 million, which was approximately $19 million more than the
                                                                                    4   Debtor represented to Lender to induce it to loan the construction funds. But Debtor hoped to get
                                                                                        the money first, and to find a way to complete the construction as it was being built. [Lavian
                                                                                    5   Decl., ¶¶ 7-9.]
                                                                                    6           2.     Lender is advised by its fund control that the Debtor maintained dual sets of books
                                                                                        in order to provide a misleading set to the Lender. Meanwhile, unbeknownst to Lender, Rubin
                                                                                    7   personally negotiated directly with suppliers to keep Lender from learning about outstanding and
                                                                                        unpaid invoices from subcontractors and suppliers and misdirected construction assets to the
                                                                                    8   neighboring dispensary property owned, in part, by Rubin and not part of Lender’s collateral.
                                                                                        [Lavian Decl., ¶ 21.]
                                                                                    9
                                                                                               3.     Rubin’s son, Joseph Rubin, was completely inexperienced and incompetent to
                                                                                   10   manage the Project but was put in charge of the construction. Joseph was also running the
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                                                                                        neighboring marijuana dispensary, which was owned by Rubin’s children, and in which Glenroy
                                                                                   11   Coachella, LLC, “invested” approximately $1.1 million. [Lavian Decl., ¶ 22.]
                                                                                   12          4.     Rubin mismanaged the Project, including budgeting deficiencies, cost issues, and
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                                                                                        repeated unrealistic start dates, resulting in substantial waste and the need for a receivership to be
                                                                                   13   implemented. [Lavian Decl., ¶ 23.]
                                                                                   14         5.     Rubin’s dishonesty has extended to his own partners, is the subject of litigation
                                                                                        between Rubin and Stiffelman. [Declaration of Gary Stiffelman (“Stiffelman Decl.”), ¶ 3.]
                                                                                   15
                                                                                                6.     Ruben misrepresented that he was making investments of his own money in the
                                                                                   16   Project, and encouraged his partner, Stiffelman, to invest over $4 million in the Project, which
                                                                                        Stiffelman has asserted were induced by Rubin’s false pretenses. [Stiffelman Decl., ¶¶ 6, 7.]
                                                                                   17
                                                                                                7.     Although Ruben’s investor’s have sought an accounting to determine the extent of
                                                                                   18   Ruben's fraud, Rubin has refused to produce financial records to even his own business partners.
                                                                                        [Stiffelman Decl., ¶ 8.]
                                                                                   19
                                                                                                8.     As part of his “shell game” to fund the Project with other people’s money (and
                                                                                   20   despite his promises to use his own funds), in or about April 2019, Stiffelman has testified that
                                                                                        Rubin misappropriated approximately $4 million of Mello-Roos proceeds to finance the
                                                                                   21   construction (something not permitted under his Mello-Roos financing), which was also a
                                                                                        material default under the Lender’s documents. [Stiffelman Decl., ¶ 9.] With only limited
                                                                                   22   documentation, the Reciever has determined that at least $1 million of Mello-Roos proceeds have
                                                                                        been diverted. [Leslie Decl., ¶ 10.]
                                                                                   23
                                                                                                9.     Rubin’s partner also learned Rubin diverted assets from the Project for his own
                                                                                   24   personal use, including the lease of a Bentley using the Debtors’ funds and credit. [Stiffelman
                                                                                        Decl.,¶ 10.]
                                                                                   25
                                                                                                10.    Rubin also used his son, Joseph Rubin, as a construction manager (who was at the
                                                                                   26   time approximately twenty-three years old and recently out of college) on the Project, with
                                                                                        virtually no construction experience, and certainly none in building a hotel. Joseph was
                                                                                   27   completely incompetent to handle this Project and it has become apparent that Joseph was put in
                                                                                        charge not to complete the construction, but to, among other things, assist his father, Rubin, in
                                                                                   28   diverting proceeds from the Project to support Rubin’s lifestyle, and Joseph Rubin’s own


                                                                                                                                    -9-
                                                                                                          MOTION FOR THE APPOINTMENT OF A CHAPTER 11 TRUSTEE
                                                                                   Case 2:21-bk-11188-BB       Doc 16 Filed 02/17/21 Entered 02/17/21 18:25:08                Desc
                                                                                                               Main Document    Page 15 of 25

                                                                                    1   lifestyle. For instance, while Joseph Rubin was completely inexperienced in design aspects of the
                                                                                        Project, he was given control to select items such as tiles, toilets and electronics. Joseph Rubin
                                                                                    2   travelled to South Korea purportedly to negotiate with Samsung for electronics for the Project,
                                                                                        which turned into a paid trip by the Project to the South Korea Winter Olympics, where he came
                                                                                    3   back with no Samsung agreement. [Stiffelman Decl., ¶ 11.]
                                                                                    4           11.    Rubin is also personally in default on numerous other obligations and loans
                                                                                        (including on his own residence in Beverly Hills and on a multi-million dollar Santa Barbara
                                                                                    5   vacation home), and is an individual defendant in a multitude of other litigation, related and
                                                                                        unrelated to the Project, all of which materially affect his abilities to focus. He was incapable of
                                                                                    6   completing the Project before and he is less capable now. What is perfectly clear is early on
                                                                                        Rubin had to know that the funding provided by the Lender was insufficient to complete the
                                                                                    7   Project with over $20 million still necessary to complete same, with no plan to raise the necessary
                                                                                        funding above the Lender’s construction financing to complete the Project. [Stiffelman Decl.,
                                                                                    8   ¶ 12.]
                                                                                    9           12.     Lender has been informed by Stiffelman, Wall, and each of the mechanics lien
                                                                                        defendants it has spoken to, that they universally agree that Rubin should have no involvement in
                                                                                   10   any future construction of the Project. Even EFO, which Rubin approached as a priming lender
                                                                                        on the Project, refused to leave Rubin in charge of construction and required its own choice of
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                                                                                   11   construction manager to take over. [Lavian Decl. ¶ 24.] Thus, the constituents in this case will
                                                                                        all support a motion to appoint a Chapter 11 Trustee.
                                                                                   12
                                                                                               13.      Rubin’s own declaration reveals that he has no actual construction experience.
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                                                                                   13   Rather, it reveals that Rubin has managed parking lots and has been involved in numerous
                                                                                        property acquisitions, but no actual construction experience of any note. [Houston Decl., Ex. D;
                                                                                   14   Declaration of Rubin showing that he has managed parking lots, was CEO of parking lot
                                                                                        company, that he purchased an existing already-constructed hotel chain, and was involved in
                                                                                   15   “investment companies” that acquired real estate.] In fact, even a cursory review of Rubin’s
                                                                                        declaration reveals that he was only “actively involved” in certain vague construction projects –
                                                                                   16   with no explanation what it means to be “involved.” [Houston Decl., Ex. D.]
                                                                                   17                  Post-Litigation Misconduct
                                                                                   18           14.    Throughout the litigation, Rubin, with the assistance and support of his counsel,
                                                                                        failed and refused to produce responsive documents, including relevant financial records, and
                                                                                   19   caused substantial delay before producing incomplete records, and that same disruptive approach
                                                                                        would continue if Rubin remained in control moving forward. For example, Rubin responded to
                                                                                   20   RFPs, RFAs and Interrogatories served in March 2020 with no documents and almost nothing
                                                                                        other than objections. [Houston Decl., Ex. A.]
                                                                                   21
                                                                                                15.    Likewise, Lander has refused to cooperate in any discovery. Lender served
                                                                                   22   discovery requests on Lander and one of the Debtor in March 2020, but notwithstanding having a
                                                                                        year to respond, Lander in February 2021 responded to discovery with nothing but “COVID
                                                                                   23   objections” and without a single document, admission, or substantive response to interrogatories.
                                                                                        [Houston Decl., Ex. B.]
                                                                                   24
                                                                                                16.     Rubin and Lander have, without basis, asserted that the Receiver had and has an
                                                                                   25   improper bias towards Plaintiff and a prejudice against the Debtor and its principals, despite the
                                                                                        fact they both stipulated to the Receiver’s appointment. [Declaration of Edwin Leslie (“Leslie
                                                                                   26   Decl.”), 3.]

                                                                                   27          17.     Defendants have taken an adversarial approach to nearly everything the Receiver
                                                                                        has done. For example, instead of cooperating with the Receiver’s discovery efforts, Rubin and
                                                                                   28   Lander unsuccessfully sought to quash the subpoenas that were issued by the Receiver to gather



                                                                                                                                   - 10 -
                                                                                                          MOTION FOR THE APPOINTMENT OF A CHAPTER 11 TRUSTEE
                                                                                   Case 2:21-bk-11188-BB       Doc 16 Filed 02/17/21 Entered 02/17/21 18:25:08                 Desc
                                                                                                               Main Document    Page 16 of 25

                                                                                    1   information about the receivership estate in furtherance of his specific right to do so under the
                                                                                        Order appointing him. [Leslie Decl., ¶ 4.]
                                                                                    2
                                                                                                18.     Rubin and Lander repeatedly refused to participate in any meaningful dialogue
                                                                                    3   with the Receiver regarding progress on the Debtor’s attempts to refinance the Project, and in at
                                                                                        least one instance stated that the Receiver’s discussions with a prospective take-out lender were
                                                                                    4   improper. [Leslie Decl., ¶ 5.]
                                                                                    5           19.     When the Receiver called an all hands telephone conference in mid-2020 to
                                                                                        discuss the status of the case, Rubin and Lander and their counsel refused to participate. [Leslie
                                                                                    6   Decl., ¶ 6.]
                                                                                    7          20.    The Debtor failed to maintain insurance and currently has insurance acquired by
                                                                                        the Receiver.
                                                                                    8
                                                                                               21.     Rubin and Lander failed and refused to cooperate with the Receiver regarding the
                                                                                    9   preparation of tax returns for the Debtor. On a number of occasions, Receiver contacted the
                                                                                        Debtor to request information related to tax filings, including information on the engagement of a
                                                                                   10   CPA or tax preparer, the location of source documents and copies of any prior tax returns. Rubin
                                                                                        ignored every request for information. [Leslie Decl., 7.]
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                                                                                   11
                                                                                                22.     Without consultation with or knowledge of the Receiver, Rubin, acting on behalf
                                                                                   12   of the Debtor, entered into an agreement with the City of Coachella relating to payment of lost
                                                                                        revenues and taxes to ensure the project development agreement remained in place. The
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                                                                                   13   development agreement was required for Rubin to maintain his marijuana dispensary license, and
                                                                                        it appears that much of Rubin’s efforts have been diverted from the construction project to this
                                                                                   14   dispensary “side project”. The Debtor repeated its actions by entering into a second agreement
                                                                                        that continued to tie together the fates of the Project with the dispensary. [Leslie Decl., ¶ 8, Exs.
                                                                                   15   A, B, and C.]
                                                                                   16           23.    Glenroy Coachella holds title to a 2019 Bentley worth $140,000 financed by
                                                                                        Porsche LSG. The vehicle is in the possession of Rubin. At least one lawsuit was filed to
                                                                                   17   enforce the financing agreement. The lender offered to dismiss the suit if the vehicle were
                                                                                        returned. Rubin purportedly cured the initial default, only to default again. Rubin has ignored
                                                                                   18   demands to turn over the vehicle to the Receiver or return it to the finance company. [Leslie
                                                                                        Decl., ¶ 9.]
                                                                                   19
                                                                                                24.     While the Receiver has not been provided with full access to the Debtor’s books
                                                                                   20   and records, based on a preliminary review of the limited information that has actually been
                                                                                        provided by Rubin, the Receiver has seen indicia that there have been significant distributions of
                                                                                   21   funds from the Debtor prior to the Receiver’s engagement that may constitute avoidable transfers,
                                                                                        including distributions that appear to have funded the construction of the non-borrower
                                                                                   22   Lighthouse Dispensary. [Leslie Decl., ¶ 10.]
                                                                                   23           25.     The Debtor entered into a parking lot use agreement with the adjoining business
                                                                                        owner, the Lighthouse Dispensary (a deal that benefitted Rubin and Lander), pursuant to which
                                                                                   24   the Debtor leased the lot to the marijuana dispensary. But the Debtor never collected any rent
                                                                                        under that agreement and then took the side of the dispensary when the Receiver fenced off the
                                                                                   25   parking lot after the natural termination of the use agreement and the refusal of the Dispensary to
                                                                                        pay rent demanded by the Receiver for any continued use. The Receiver gave the Dispensary
                                                                                   26   extensive notice of his intent to terminate the use agreement if an agreement could not be reached.
                                                                                        The Dispensary ignored his notices until the Receiver began taking steps to terminate their use.
                                                                                   27   [Leslie Decl., ¶ 11.]
                                                                                   28


                                                                                                                                   - 11 -
                                                                                                          MOTION FOR THE APPOINTMENT OF A CHAPTER 11 TRUSTEE
                                                                                   Case 2:21-bk-11188-BB       Doc 16 Filed 02/17/21 Entered 02/17/21 18:25:08                 Desc
                                                                                                               Main Document    Page 17 of 25

                                                                                    1   D.     The Debtor Cannot Avoid the Appointment of Trustee by Hiring a Chief
                                                                                    2          Restructuring Officer That Answers Only to Stuart Rubin
                                                                                    3          Lender believes, based on recent conversations it has had with the Debtor, that it may
                                                                                    4   oppose the appointment of a Trustee on the grounds that it has hired, or will be hiring, a Chief
                                                                                    5   Restructuring Officer (“CRO”). First, the hiring of a CRO is not going to obviate any of the
                                                                                    6   issues or concerns raised above, because it is clear that a CRO will be hired at the pleasure of
                                                                                    7   Rubin and will answer only to Rubin. There will be no functional difference between the Debtor
                                                                                    8   being run by Rubin or by a CRO that answers only to Rubin. Any CRO hired by the Debtor will
                                                                                    9   not be an independent fiduciary.
                                                                                   10          In fact, Lender is informed that the Debtor is considering Dana Barbera, of Colliers, as a
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                                                                                   11   CRO. First, Colliers, at the helm of Mr. Barbera, was proposed by the Debtor as a project
                                                                                   12   manager over this Project in an ill-conceived “priming motion” filed by the Debtor in the
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                                                                                   13   Superior Court of California, County of Riverside. [Houston Decl., Ex. B.] That motion was
                                                                                   14   summarily denied by the state court. As such, Mr. Barbera does not appear to be disinterested.
                                                                                   15   Second, Mr. Barbera appears to have no experience whatsoever as a CRO: he is, as his resume
                                                                                   16   indicates, a project manager and not a CRO.
                                                                                   17          Last, but not least, the Debtor itself – in an effort to block a subpoena issued by the
                                                                                   18   Receiver to Colliers -- argued that “[t]he ownership [of Debtor] and Colliers share a common
                                                                                   19   interest privilege in connection with the defense and response to the litigation and unjustified
                                                                                   20   receivership . . . [and] the communications to/from the defense and Colliers are in furtherance of
                                                                                   21   the common interest and the privilege and protections apply to preclude production of Colliers’
                                                                                   22   records.” [Declaration of Alan G. Tippie (“Tippie Decl.”), Ex. B.]
                                                                                   23                                                   III.
                                                                                   24                                         LEGAL ARGUMENT
                                                                                   25   A.     The Legal Standard for the Appointment of a Trustee
                                                                                   26          The appointment of a trustee is governed by Section 1104(a) of the Bankruptcy Code
                                                                                   27   which provides:
                                                                                   28          (a) At any time after the commencement of the case but before confirmation of a plan, on


                                                                                                                                   - 12 -
                                                                                                          MOTION FOR THE APPOINTMENT OF A CHAPTER 11 TRUSTEE
                                                                                   Case 2:21-bk-11188-BB        Doc 16 Filed 02/17/21 Entered 02/17/21 18:25:08                   Desc
                                                                                                                Main Document    Page 18 of 25

                                                                                    1          request of a party in interest or the United States trustee, and after notice and a hearing,
                                                                                               the court shall order the appointment of a trustee—
                                                                                    2
                                                                                                       (1) for cause, including fraud, dishonesty, incompetence, or gross mismanagement
                                                                                    3                  of the affairs of the debtor by current management, either before or after the
                                                                                                       commencement of the case, or similar cause, but not including the number of
                                                                                    4                  holders of securities of the debtor or the amount of assets or liabilities of the
                                                                                                       debtor;
                                                                                    5
                                                                                                       (2) if such appointment is in the interests of creditors, any equity security holders,
                                                                                    6                  and other interests of the estate, without regard to the number of holders of
                                                                                                       securities of the debtor or the amount of assets or liabilities of the debtor; or
                                                                                    7
                                                                                                       (3) if grounds exist to convert or dismiss the case under section 1112, but the court
                                                                                    8                  determines that the appointment of a trustee or an examiner is in the best interests
                                                                                                       of creditors and the estate.
                                                                                    9
                                                                                        11 U.S.C. § 1104(a).
                                                                                   10
                                                                                               Under certain circumstances a debtor may be dispossessed and other management
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                                                                                   11
                                                                                        appointed in the form of a trustee. See In re Microwave Prods., 102 B.R. at 670. There are two (2)
                                                                                   12
                                                                                        standards for the appoint of a Chapter 11 trustee: (i) under § 1104(a)(1), upon a showing of cause,
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                                                                                   13
                                                                                        “including fraud, dishonesty, incompetence or gross mismanagement of the affairs of the debtor,”
                                                                                   14
                                                                                        the Court “shall order” the appointment of a trustee; and/or (ii) under § 1104(a)(2), the Court may
                                                                                   15
                                                                                        appoint a trustee in the absence of “cause” under subsection (a)(1) if such appointment “is in the
                                                                                   16
                                                                                        interests of the creditors, any equity security holders, and other interests of the estate.”
                                                                                   17
                                                                                               Courts will leave a debtor-in-possession in control only where current management “can
                                                                                   18
                                                                                        be depended upon to carry out the fiduciary responsibilities of a trustee.” Commodity Future
                                                                                   19
                                                                                        Trading Commn’n v. Weintraub, 471 U.S. 343, 355 (1985). When a debtor-in-possession is
                                                                                   20
                                                                                        incapable of performing these duties, or when creditors’ confidence evaporates, a chapter 11
                                                                                   21
                                                                                        trustee must be appointed. See In re McCorhill Publ’g. Inc., 73 B.R. 1013, 1017 (Bankr.
                                                                                   22
                                                                                        S.D.N.Y. 1987); In re Marvel Entm’t Group, 140 F.3d 463, 473 (3d Cir. 1998). “Where
                                                                                   23
                                                                                        corporate governance disputes spill over into areas that affect the debtor’s ability to manage its
                                                                                   24
                                                                                        affairs or conduct its business, the Bankruptcy Code provides a clear remedy.” In re Ampal-Am.
                                                                                   25
                                                                                        Israel Corp., No. 12-13689 SMB, 2013 WL 1400346, at *5 (Bankr. S.D.N.Y. Apr. 5, 2013)
                                                                                   26
                                                                                        (holding that a bankruptcy court “should not . . . take sides in corporate governance disputes or
                                                                                   27
                                                                                        approve the selection of one slate of directors over a competing slate”, and, instead, directing the
                                                                                   28
                                                                                        appointment of a Chapter 11 Trustee.)

                                                                                                                                     - 13 -
                                                                                                           MOTION FOR THE APPOINTMENT OF A CHAPTER 11 TRUSTEE
                                                                                   Case 2:21-bk-11188-BB        Doc 16 Filed 02/17/21 Entered 02/17/21 18:25:08                  Desc
                                                                                                                Main Document    Page 19 of 25

                                                                                    1          “[I]n the appropriate case, the appointment of a trustee is a power which is critical for the
                                                                                    2   Court to exercise in order to preserve the integrity of the bankruptcy process and to insure that the
                                                                                    3   interests of creditors are served.” In re Suncrus Casinos, LLC, 298 B.R. 821, 828 (Bankr. S.D.
                                                                                    4   Fla. 2003) (quoting In re Intercat, 247 B.R. 911, 920) (Bankr. S.D. Ga. 2000)); see also, In re V.
                                                                                    5   Savino Oil & Heating Co., 99 B.R. 518, 525 (Bankr. E.D.N.Y. 1989) (“Section 1104(a)
                                                                                    6   represents a potentially important protection that courts should not lightly disregard or encumber
                                                                                    7   with overly protective attitudes towards debtors-in-possession”).
                                                                                    8   B.     This Court Should Appoint a Trustee to Administer the Assets of the Debtor
                                                                                    9          This Court should appoint a Chapter 11 Trustee acceptable to the parties and the United
                                                                                   10   States Trustee to take control of the affairs of the Debtor, including as an initial matter to preserve
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                                                                                   11   the Debtor’s Property pending either a foreclosure or a bankruptcy sale.
                                                                                   12             1.      There is Cause to Appoint a Trustee Under Section 1104(a)(1).
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                                                                                   13          The appointment of a Chapter 11 Trustee is mandatory upon the showing of cause under
                                                                                   14   Section 1104(a)(1), and such cause includes “fraud, dishonesty, incompetence or gross
                                                                                   15   mismanagement of the debtor’s affairs by current management, either before or after the
                                                                                   16   commencement of the case . . .” 11 U.S.C. § 1104(a)(1). Once the court makes a finding that
                                                                                   17   cause exists under § 1104(a)(1), “there is no discretion; an independent trustee must be
                                                                                   18   appointed.” In re V. Savino Oil & Heating Co., Inc., 99 B.R. 518, 525 (Bankr.E.D.N.Y.1989).
                                                                                   19   Although the court’s finding is limited to a factual determination whether “cause” exists, a court
                                                                                   20   is given wide latitude in determining whether the challenged conduct rises to the level of “cause.”
                                                                                   21   Comm. of Dalkon Shield Claimants v. A.H. Robins Co., Inc., 828 F.2d 239, 241–42 (4th Cir.1987)
                                                                                   22   (noting that the construction of § 1104 “requires that the courts be given discretionary authority to
                                                                                   23   determine whether the conduct rises to the level of ‘cause’ “). A court may consider both the pre-
                                                                                   24   and postpetition misconduct of the current management when making the determination that
                                                                                   25   “cause” exists for the appointment of a trustee. In re Rivermeadows Assocs. Ltd., 185 B.R. 615,
                                                                                   26   619 (Bankr. D. Wyo. 1995) (“the Code is clear that the prepetition conduct of the debtor’s
                                                                                   27   management may be the sole deciding factor” in the appointment of a Chapter 11 trustee);
                                                                                   28


                                                                                                                                    - 14 -
                                                                                                          MOTION FOR THE APPOINTMENT OF A CHAPTER 11 TRUSTEE
                                                                                   Case 2:21-bk-11188-BB        Doc 16 Filed 02/17/21 Entered 02/17/21 18:25:08                  Desc
                                                                                                                Main Document    Page 20 of 25

                                                                                    1   Midatlantic Nat’l Bank v. Anchorage Boat Sales, Inc. (In re Anchorage Boat Sales, Inc.), 4 B.R.
                                                                                    2   635, 644–45 (Bankr. E.D.N.Y. 1980).
                                                                                    3          Here, the Debtor and primary principal, Rubin (as well as Lander), have repeatedly
                                                                                    4   demonstrated through their actions and incompetence that they are burdened with a conflict of
                                                                                    5   interest that has negatively affected the Debtor’s ability to manage their affairs as fiduciaries.
                                                                                    6   The Debtor’s principals have an interest in seizing control of the Project in the vain hopes of
                                                                                    7   maximizing their personal recovery at the sole risk of the Debtor’s creditors, including Lender.
                                                                                    8   Rubin has a proven track record of putting himself and certain of his business partners before the
                                                                                    9   Debtor’s legitimate creditors.
                                                                                   10          “The debtor in possession performing the duties of the trustee is the representative of the
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                                                                                   11   estate and is saddled with the same fiduciary duty as a trustee to maximize the value of the estate
                                                                                   12   available to pay creditors.” An-Tze Cheng v. K & S Diversified Invs., Inc. (In re An-Tze Cheng),
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                                                                                   13   308 B.R. 448, 455 (B.A.P. 9th Cir. 2004). This Debtor chose to propose a hare-brained priming
                                                                                   14   “plan” in the state court that created zero risk for Rubin or Lander, but instead placed all the risk
                                                                                   15   of a failed project on the Lender and the mechanics’ lien holders and other creditors. Even in that
                                                                                   16   “plan”, the proposed financer, EFO, did not trust Rubin to handle the construction of this Project
                                                                                   17   and instead required that Colliers manage the Project. Rubin has no business being involved in
                                                                                   18   this Project any longer. See, e.g., In re Keeley & Grabanski Land P’ship, 455 B.R. 153, 164
                                                                                   19   (B.A.P. 8th Cir. 2011) (including a refusal of a reasonable offer to sell as cause to appoint a
                                                                                   20   Chapter 11 trustee); In re Bellevue Place Assocs., 171 B.R. 615, 624 (Bankr. N.D. Ill. 1994) (“[A]
                                                                                   21   fiduciary—the debtor-in-possession—is proscribed from acting solely in its self-interest to the
                                                                                   22   exclusion of the other interest which the debtor-in-possession has the fiduciary obligation to
                                                                                   23   protect.”); In re Nautilus of N.M., Inc., 83 B.R. 784, 789–90 (Bankr. D. N.M. 1988) (appointing a
                                                                                   24   trustee after finding that debtor-in-possession’s representative protected his own interests above
                                                                                   25   those the debtor’s creditors).
                                                                                   26          Even before this filing and before the state court litigation commenced, the Debtor has
                                                                                   27   irrefutably demonstrated an inability to handle this Project. While certain cost overruns or
                                                                                   28   budget changes can be anticipated in any large construction project, there is no bona fide


                                                                                                                                    - 15 -
                                                                                                          MOTION FOR THE APPOINTMENT OF A CHAPTER 11 TRUSTEE
                                                                                   Case 2:21-bk-11188-BB         Doc 16 Filed 02/17/21 Entered 02/17/21 18:25:08                 Desc
                                                                                                                 Main Document    Page 21 of 25

                                                                                    1   explanation for a budget increase (total hard costs) from approximately $30 million to
                                                                                    2   approximately $50 million in just a few short months. Whether the explanation is the Debtor’s
                                                                                    3   gross incompetence or their fraudulent intent, neither is grounds to allow this the Debtor to
                                                                                    4   remain in charge.
                                                                                    5             2.        Appointment of a Trustee Under Section 1104(a)(2) Would be in the Best
                                                                                    6                       Interests of the Creditors
                                                                                    7          Even where insufficient “cause” exists under the above standard, Section 1104(a)(2)
                                                                                    8   creates a flexible standard that authorizes the Court to appoint a trustee when it is in the best
                                                                                    9   interests of the creditors and the estate. Sharon Steel, 871 F.2d at 1226; In re Cardinal Indus.
                                                                                   10   Inc., 109 B.R. 755, 767 (Bankr. S.D. Ohio 1990); In re Microwave Prods. of Am., Inc., 102 B.R.
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                                                                                   11   659, 673 (Bankr. W.D. Tenn. 1989). Bankruptcy courts consider many factors to determine
                                                                                   12   whether to appoint a Chapter 11 trustee under § 1104(a)(2), which provides that the Court “shall
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                                                                                   13   order the appointment of a trustee . . . if such appointment is in the interests of creditors, any
                                                                                   14   equity security holders and other interests of the estate . . .” 11 U.S.C. § 1104(a)(2) (emphasis
                                                                                   15   added). “One of the most fundamental and crucial duties of a debtor-in-possession upon the
                                                                                   16   filing of a Chapter 11 petition is to keep the Court and creditors informed about the nature, status
                                                                                   17   and condition of the business undergoing reorganization.” In re Plaza de Retiro, Inc., 417 B.R. at
                                                                                   18   641 (Bankr. D.N.M. 2009); In re V. Savino Oil & Heating Co., Inc., 99 B.R. at 526 (Bankr.
                                                                                   19   E.D.N.Y 1989). Other factors evaluated by Courts include (i) the overall management of debtor,
                                                                                   20   both past and present, (ii) the trustworthiness of debtor’s management, (iii) the confidence or lack
                                                                                   21   thereof of the business community and of creditors in present management, and (iv) practical
                                                                                   22   considerations, such as the benefits derived by the appoint of a trustee, balanced against costs. In
                                                                                   23   re Ionosphere Clubs, Inc., 113 B.R. 164, 168-169 (Bankr. S.D.N.Y. 1990); see also In re Sharon
                                                                                   24   Steel Corp., 86 B.R. 455, 466 (Bankr. W.D. Pa. 1988) (“[I]n a case of this magnitude, the cost of
                                                                                   25   having a trustee in place is insignificant when compared with the other costs of administration
                                                                                   26   and when compared with the enormous benefit to be achieved by the establishment of trust and
                                                                                   27   confidence in . . . management.”)
                                                                                   28


                                                                                                                                    - 16 -
                                                                                                            MOTION FOR THE APPOINTMENT OF A CHAPTER 11 TRUSTEE
                                                                                   Case 2:21-bk-11188-BB        Doc 16 Filed 02/17/21 Entered 02/17/21 18:25:08                  Desc
                                                                                                                Main Document    Page 22 of 25

                                                                                    1          A chapter 11 debtor and its managers owe fiduciary duties to the estate. See In re
                                                                                    2   Centennial Textiles, Inc., 227 B.R. 606, 612 (Bankr. S.D.N.Y. 1998). An independent trustee
                                                                                    3   should be appointed under § 1104(a)(2) when debtors suffer from material conflicts of interest,
                                                                                    4   and cannot be counted on to conduct independent investigations of questionable transactions in
                                                                                    5   which they were involved. See, e.g., In re PRS Ins. Group. Inc., 274 B.R. 381, 389 (Bankr. D.
                                                                                    6   Del. 2001) (appointment of trustee appropriate under § 1104(a)(2) where causes of action against
                                                                                    7   insiders are a significant asset of this estate); Microwave Prods, of Am., 102 B.R. at 676 (chapter
                                                                                    8   11 trustee appointed where debtor was not in a “strong posture” to pursue possible claims due to
                                                                                    9   conflicts of interest and fraudulent transfers, and “a trustee would likely be able to investigate
                                                                                   10   claims that could result in additional sums of money coming into the estate”); In re L.S. Good &
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                                                                                   11   Co., 8 B.R. 312, 315 (Bankr. N.D. W. Va. 1980) (appointing trustee under § 1104(a)(2) where
                                                                                   12   “[t]he magnitude of the number of inter-company transactions places current management of [the
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                                                                                   13   debtor] in a position of having grave potential conflicts of interest and the presumption arises that
                                                                                   14   the current management of [the debtor] will be unable to make the impartial investigations and
                                                                                   15   decisions demanded in evaluating and pursuing inter-company claims on behalf of [the debtor]”).
                                                                                   16          The practical reality of this case is, quite simply, that a trustee is needed to administer the
                                                                                   17   estate, and to preserve and, perhaps, to sell the Property. Additionally, the Lender has no faith
                                                                                   18   whatsoever that the Debtor is willing or even able to independently assess claims against their
                                                                                   19   insiders while Rubin continues to be at the helm. Additionally, a neutral third party that answers
                                                                                   20   to this Court, and not to the Debtor, is needed to negotiate with the City of Coachella and to
                                                                                   21   disentangle Rubin’s efforts to tie together the fates of the Debtor with a marijuana dispensary
                                                                                   22   owned by his children. Given the Receiver’s history with this Debtor, this Project, and Debtor’s
                                                                                   23   financial affairs, the Receiver should be considered as a Chapter 11 trustee, or, at a minimum,
                                                                                   24   should be engaged by a Chapter 11 trustee for his expertise with this Project. The Receiver has a
                                                                                   25   local office and staff and his continuing involvement as an independent fiduciary would be the
                                                                                   26   most productive and cost-effective solution to most of the Debtor’s problems.
                                                                                   27          The Debtor has not demonstrated a realistic possibility that they will ever successfully
                                                                                   28   confirm a plan (particularly not in the very short time frame provided for in a Single Asset Real


                                                                                                                                    - 17 -
                                                                                                          MOTION FOR THE APPOINTMENT OF A CHAPTER 11 TRUSTEE
                                                                                   Case 2:21-bk-11188-BB        Doc 16 Filed 02/17/21 Entered 02/17/21 18:25:08                  Desc
                                                                                                                Main Document    Page 23 of 25

                                                                                    1   Estate Case) or to sell the Property, or investigate any claims of its insiders. The need for a
                                                                                    2   Chapter 11 Trustee to pursue the sale of the Property without Rubin’s interference is clear.
                                                                                    3           Accordingly, even if the Court finds that the Debtor’s representative’s conflict of interest
                                                                                    4   or inability to act as an independent fiduciary of the estate does not amount to “cause” under §
                                                                                    5   1104(a)(1), the Court should appoint a trustee in the interests of creditors and the estate under §
                                                                                    6   1104(a)(2). The Court has particularly wide discretion to appoint a trustee under the flexible
                                                                                    7   standard of § 1104(a)(2) and the facts of this case warrant the use of that discretion to appoint a
                                                                                    8   trustee here. See In re Keeley & Grabanski Land P’ship, 455 B.R. at 165.
                                                                                    9             3.      No Bond is Required
                                                                                   10           Since Lender is requesting the appointment of a trustee under § 1104, not § 303(g),
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                                                                                   11   Federal Rule of Bankruptcy Procedure 2007.1, not Rule 2001, is applicable to the appointment of
                                                                                   12   such trustee and no bond other than that which may be customarily required from a chapter 11
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                                                                                   13   trustee is required.
                                                                                   14                                                    IV.
                                                                                   15                                             CONCLUSION
                                                                                   16           For the foregoing reasons, this court should appoint a Chapter 11 Trustee to administer the
                                                                                   17   assets of the Debtor’s estate, to preserve and protect the Property, to potentially sell the Property,
                                                                                   18   and to address issues arising between the secured creditors (i.e., the Lender and the mechanics
                                                                                   19   lien claimants) regarding the nature, extent and priority of their respective liens.
                                                                                   20

                                                                                   21

                                                                                   22   DATED: February 17, 2021                       REED SMITH LLP
                                                                                   23

                                                                                   24                                                  By       /s/ Christopher O. Rivas
                                                                                                                                             Marsha A. Houston
                                                                                   25
                                                                                                                                             Christopher O. Rivas
                                                                                   26                                                        Attorneys for Secured Creditor
                                                                                                                                             U.S. Real Estate Credit Holdings III-A, LP
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                                                                                                                                    - 18 -
                                                                                                           MOTION FOR THE APPOINTMENT OF A CHAPTER 11 TRUSTEE
            Case 2:21-bk-11188-BB                  Doc 16 Filed 02/17/21 Entered 02/17/21 18:25:08                                      Desc
                                                   Main Document    Page 24 of 25


                                          PROOF OF SERVICE OF DOCUMENT
I am over the age of 18 and not a party to this bankruptcy case or adversary proceeding. My business address is:
355 South Grand Avenue, Suite 2900, Los Angeles, CA 90071


A true and correct copy of the foregoing document entitled (specify): MOTION FOR THE APPOINTMENT OF A
CHAPTER 11 TRUSTEE


will be served or was served (a) on the judge in chambers in the form and manner required by LBR 5005-2(d); and (b) in
the manner stated below:

1. TO BE SERVED BY THE COURT VIA NOTICE OF ELECTRONIC FILING (NEF): Pursuant to controlling General
Orders and LBR, the foregoing document will be served by the court via NEF and hyperlink to the document. On (date)
February 17, 2021 , I checked the CM/ECF docket for this bankruptcy case or adversary proceeding and determined that
the following persons are on the Electronic Mail Notice List to receive NEF transmission at the email addresses stated
below:

    •   Eryk R Escobar eryk.r.escobar@usdoj.gov
    •   Mark S Horoupian mhoroupian@sulmeyerlaw.com, mhoroupian@ecf.inforuptcy.com;
        ccaldwell@sulmeyerlaw.com
    •   Michael S Kogan mkogan@koganlawfirm.com
    •   Kenneth G Lau kenneth.g.lau@usdoj.gov
    •   James R Selth jim@wsrlaw.net, jselth@yahoo.com; eduardo@wsrlaw.net; gabby@wsrlaw.net;
        vinnet@ecf.inforuptcy.com
    •   Alan G Tippie atippie@sulmeyerlaw.com, atippie@ecf.courtdrive.com; pdillamar@sulmeyerlaw.com
    •   United States Trustee (LA) ustpregion16.la.ecf@usdoj.gov
    •   Daniel J Weintraub dan@wsrlaw.net, vinnet@ecf.inforuptcy.com; gabby@wsrlaw.net; eduardo@wsrlaw.net

                                                                                             Service information continued on attached page

2. SERVED BY UNITED STATES MAIL:
On (date)                     , I served the following persons and/or entities at the last known addresses in this bankruptcy
case or adversary proceeding by placing a true and correct copy thereof in a sealed envelope in the United States mail,
first class, postage prepaid, and addressed as follows. Listing the judge here constitutes a declaration that mailing to the
judge will be completed no later than 24 hours after the document is filed.

                                                                                             Service information continued on attached page

3. SERVED BY PERSONAL DELIVERY, OVERNIGHT MAIL, FACSIMILE TRANSMISSION OR EMAIL (state method
for each person or entity served): Pursuant to F.R.Civ.P. 5 and/or controlling LBR, on (date) February 17, 2021 , I served
the following persons and/or entities by personal delivery, overnight mail service, or (for those who consented in writing to
such service method), by facsimile transmission and/or email as follows. Listing the judge here constitutes a declaration
that personal delivery on, or overnight mail to, the judge will be completed no later than 24 hours after the document is
filed.
BY PERSONAL DELIVERY:
Hon. Sheri Bluebond
USBC-Central District of California
255 E. Temple Street
Suite 1534 / Courtroom 1539
Los Angeles, CA 90012

                                                                                             Service information continued on attached page

             This form is mandatory. It has been approved for use by the United States Bankruptcy Court for the Central District of California.


June 2012                                                                                            F 9013-3.1.PROOF.SERVICE
            Case 2:21-bk-11188-BB                  Doc 16 Filed 02/17/21 Entered 02/17/21 18:25:08                                      Desc
                                                   Main Document    Page 25 of 25


I declare under penalty of perjury under the laws of the United States that the foregoing is true and correct.

February 17, 2021               Gilda S. Anderson                                               Gilda S. Anderson
 Date                           Printed Name                                                     Signature




             This form is mandatory. It has been approved for use by the United States Bankruptcy Court for the Central District of California.


June 2012                                                                                            F 9013-3.1.PROOF.SERVICE
